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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
       v.                                      :       Criminal No. 21-00368 (JDB)
                                               :
JODY LYNN TAGARIS                              :
                                               :
                       Defendant.              :

    CONSENT MOTION FOR CONTINUANCE OF CHANGE OF PLEA HEARING

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, with the consent of defense counsel, Jeff T. Gorman, respectfully prays

as follows:

   1. A plea agreement hearing is currently set for October 15, 2021 at 10:30 a.m. before the

       Court.

   2. Although the parties will enter into a plea agreement in this case, they are still in the process

       of negotiating the specific terms of the agreement and drafting the agreement. The parties

       need additional time to finalize the agreement and prepare for a change of plea hearing.

   3. Accordingly, the United States, with the consent of the defense, requests that the change

       of plea hearing be continued for a period of approximately 45-days, that is until December

       1, 2021 or thereafter, at a date that is convenient for the Court.

   WHEREFORE, the Government respectfully requests that the Court continue the change of

plea hearing until December 1, 2021, or thereafter, at a date that is convenient for the Court.

                                               Respectfully submitted,

                                               CHANNING D. PHILLIPS
                                               United States Attorney
                                               D.C. Bar Number 415-793

                                               _/s/_David T. Henek______

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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this date, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all counsel
of record.



                                                          _/s/_David T. Henek______
                                                          DAVID T. HENEK
                                                          Assistant U.S. Attorney




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